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 7   Attorneys for Defendants
     COUNTY OF SONOMA
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 9                               UNITED STATES DISTRICT COURT
10                            NORTHERN DISTRICT OF CALIFORNIA
11
     DENISE MCCLOUD, BRIAN                            Case No. 22-cv-04284-HSG
12   BARAN, KRISTOPHER ANDERSON
     FRANCOIS, MERCEDES JUANITA                       DECLARATION OF WILL
13   FLORES, TIM RUCKER, WILBERT                      GAYOWSKI IN SUPPORT OF
     RAY FIELDS, AND JOHN CLAY                        COUNTY OF SONOMA’S
14                                                    OPPOSITION TO PLAINTIFFS’
            Plaintiffs,                               REQUEST FOR TEMPORARY
15                                                    RESTRAINING ORDER
     vs.
16                                                    Date: July 27, 2022
     COUNTY OF SONOMA, COUNTY                         Time: 10:00 a.m.
17   ADMINISTRATOR SHERYL                             Court: Courtroom 2, 4th Floor
     BRATTON, SONOMA COUNTY                                  1301 Clay Street
18   REGIONAL PARKS, SONOMA                                  Oakland, CA
     COUNTY REGIONAL PARK
19   DIRECTOR BERT WHITAKER,
     CITY OF SANTA ROSA, CITY OF
20   SANTA ROSA MANAGER                               Judge: Hon. Haywood S. Gilliam, Jr.
     MARASKESHIA SMITH. DOES 1-
21   10
22          Defendants.
                                                /
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24   I, WILL GAYOWSKI, declare as follows:
25          1.      I am currently employed by the County of Sonoma as the Manager of the Sonoma
26   County Homeless Encampment Access & Resource Team (HEART). I have personal
27   knowledge of the facts contained in this Declaration and if called to testify thereto, I could and
28   would do so competently.


     DECLARATION OF WILL GAYOWSKI                                                     22-cv-04284-HSG
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 1          2.      I am a Licensed Marriage and Family Therapist and have worked for the County
 2   of Sonoma since 2013. Since May 2020, I have served in two management roles providing
 3   services to homeless individuals – as a Health Program Manager and Manager of the County’s
 4   Homeless Encampment Access & Resource Team (HEART) within the County of Sonoma,
 5   Department of Health Services. HEART focuses on sheltering Sonoma County’s homeless
 6   population. HEART is the primary team within the County of Sonoma responsible for
 7   responding to encampments on County property to assess individuals experiencing homelessness
 8   for services and placement options and offer shelter to individuals in encampments as shelter
 9   space is available.
10          3.      I am currently the acting HEART Manager and in this role have been responsible
11   for overseeing the team of trained County outreach workers responsible for providing outreach to
12   the two homeless encampments that have developed on the Joe Rodota Trail in Santa Rosa,
13   California over the past two months. My team has been responding to periodic encampments as
14   they develop on the Joe Rodota Trail for the more than two years that I have been the HEART
15   Manager.
16          4.      There are currently two homeless encampments on the Joe Rodota Trail, which is
17   Sonoma County Regional Park property consisting of a bicycle and pedestrian path that extends
18   from Santa Rosa into west Sonoma County.
19                  a.     The first encampment is located between the Joe Rodota Trail and
20          Highway 12, east of Wright Rd. This encampment first started with six to eight people
21          and I was first contacted about this encampment at the end of May 2022. The HEART
22          team began working with individuals at the encampment in early June and began placing
23          people into shelters as space began available. For more than a month, a number of
24          individuals were on the wait list to be placed into shelter. There have been approximately
25          16 to 20 people at this encampment that the HEART team has worked with over the past
26          two months to place them into shelter. As of this evening, all individuals living in this
27          encampment have been placed into shelter by the County.
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     DECLARATION OF WILL GAYOWSKI                                                    22-cv-04284-HSG
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 1                   b.      The second encampment is located on the Joe Rodota Trail between
 2           Dutton Avenue and Roseland Avenue in Santa Rosa, approximately a mile east of the
 3           first encampment. I was advised by my team that this encampment formed overnight
 4           with approximately six tents on July 6, 2022. Over the past three weeks, it has grown to
 5           more than 23 tents or other dwelling units with an estimated 25 to 30 individuals. It is
 6           my understanding that all of the seven named Plaintiffs in this lawsuit have been living at
 7           this encampment.
 8           5.      During the time that individuals have been living at these two encampments,
 9   HEART has been working with all of the individuals that are willing to engage with the team to
10   assess them for placement opportunities and get them placed into shelters as space is available.
11           6.      Beginning last week, the County was able to increase its available options for
12   shelter capacity so that we had a variety of shelter options available for all of the existing
13   individuals living at both encampments on the Joe Rodota Trail.
14           7.      Beginning on July 20, the HEART team began offering a variety of shelter
15   options to all of the individuals that were at both Joe Rodota Trail encampments and began
16   placing the first of those individuals into shelter on July 21, 2022. All available HEART
17   outreach team members along with County IMDT workers have been on the Joe Rodota Trail
18   daily on July 20, 21, 22, 25, and 26 working with all encampment residents to offer individuals a
19   variety of shelter options and assist with moving individuals into shelter as soon as they accept
20   one of the placements that has been offered. I personally have been on the trail working with
21   individuals at both encampments all day on July 25 and 26 to assist with moving as many people
22   into shelter as possible.
23           8.      Since July 21, 2022, the County has placed a total of 41 individuals into shelter
24   from both encampments on the Joe Rodota Trail, including placements at Sam Jones Hall, Los
25   Guillicos Village, County trailers located at the Sonoma County Fairgrounds, and local hotels.
26   In addition, the County contracted with FS Global Solutions to provide personal property storage
27   for all individuals living at the encampment who accept a shelter placement and are unable to
28   take all of their property. FS Global has been on site July 26 and July 27 to provide storage.


     DECLARATION OF WILL GAYOWSKI                                                       22-cv-04284-HSG
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 1          9.      I have confirmed with my team that everyone currently living in the two
 2   encampments on the Joe Rodota Trail had been offered a shelter placement by the County by
 3   today. As of 10 a.m. this morning, I am not aware of anyone currently living in either of the
 4   encampments who has not been offered a shelter placement, and in fact, most individuals have
 5   now accepted one of the shelter placements offered to them.
 6          10.     I was advised of the lawsuit filed by Plaintiffs on Monday July 25, 2022 and am
 7   familiar with each of the individual Plaintiffs through my work as the HEART Manager. I have
 8   personally been working with individuals at both of the existing encampments on the Joe Rodota
 9   Trail over the past two days. All seven of the named Plaintiffs have been offered a variety of
10   shelter options and six of them have already moved into the shelter placement that they accepted
11   as follows:
12                  a.     Denise McCloud: Offered placement in one of the trailers at the Sonoma
13          County Fairgrounds as well as two different hotels. As of July 26, she had chosen a hotel
14          where one of her friends had been placed that does not have any current vacancies until
15          July 27. She is scheduled to move into the hotel on July 27 as soon as a vacancy opens
16          but could have moved into a trailer on July 25, 2022.
17                  b.     Brian Barnard: Offered and accepted placement in one of the trailers at
18          the Sonoma County Fairgrounds. Moved in on July 25, 2022.
19                  c.     Kristopher Anderson Francois: Offered and accepted placement in one
20          of the trailers at the Sonoma County Fairgrounds. Moved in on July 26, 2022.f
21                  d.     Mercedes Juanita Flores: Offered and accepted placement in hotel for a
22          minimum of 30 days. Moved in on July 25, 2022.
23                  e.     Tim Rucker: Offered and accepted placement at Los Guillocos Village in
24          one of the pallet homes. Moved in on July 26, 2022.
25                  f.     Wilbert Ray Fields: Offered and accepted placement in one of the
26          trailers at the Sonoma County Fairgrounds. Moved in on July 26, 2022.
27                  g.     John Clay: Offered and accepted placement in hotel for a minimum of 30
28          days. Moved in on July 25, 2022.


     DECLARATION OF WILL GAYOWSKI                                                   22-cv-04284-HSG
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 1          I declare under penalty of perjury under the laws of the United States of America that the
 2   foregoing is true and correct. Executed in Santa Rosa, California on July 26, 2022.
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                                                 _____________________________________
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                                                       WILL GAYOWSKI, LMFT
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     DECLARATION OF WILL GAYOWSKI                                                   22-cv-04284-HSG
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